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UNITED STATES DISTRICT COURT, %&p 2, "ee,
WESTERN DISTRICT OF WASHINGT NOR Ly

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APPLICATION FOR LEAVE TO APPEAR PRO HAC DICE,

VALVE, L.L.C., “a
Plaintiff.
Vs. CASE NUMBER CV —02-1683
SIERRA ENTERTAINMENT, INC.
Defendant.

Pursuant to Local General Rule 2(d) of the United States District Court for the Western District
of Washington, Kimberly A. Bliss hereby applies for permission to appear and participate as

counsel in the above entitled action on behalf of the Defendant, Sierra Entertainment, Inc. This

application is based upon the following:
The particular need for my appearance and participation is: Iam an associate of Annette L.
Hurst, who has been retained as lead counsel for Defendant Sierra Entertainment and for

proposed new Defendants Vivendi Universal Games and Vivendi Universal.

I, Kimberly A. Bliss, understand that I am charged with knowing and complying with all

applicable local rules;

I have not been disbarred or formally censured by a court of record or by a state bar association;

and there are no pending disciplinary proceedings against me.

I declare under penalty of perjury that the foregoing is true and correct.

t Ze | °% Kode, —
Date Signature of applicant |

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I have enclosed the required filing fee of $50.00

Receipt number (to be completed by the court):

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03-CV-01683-MISC

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ANNETTE L. HURST (pre hac vice pending)

SIMON J. FRANKEL (pre hac vice pending)
KIMBERLY A. BLISS (pre dae vice pending)
HOWARD RICE NEMEROVSKI CANADY FALK & RABKIN
A Professional Corporation
Three Embarcadero Center, 7th Floor
San Francisco, California 94111-4024
Telephone: 415/434-1600
Facsimile: 415/217-5910

STATEMENT OF LOCAL COUNSEL

Tam authorized, and will be prepared, to handle this matter, including trial, in the event

the applicant Kimberly A. Bliss is unable to be present oh any date assigned by the court.

DATED this 247\ _dayof 2003.

Signature of local counsel

LOCAL COUNSEL NAME AND BAR NUMBER: MICHAEL R. SCOTT (No. 12822)
LAW FIRM: HILLIS CLARK MARTIN & PETERSON, P.S.

LOCAL COUNSEL’S ADDRESS: 500 Galland Building
1221 Second Avenue
Seattle, WA 98101-2925
Telephone: 206/623-1745

ORDER
IT IS ORDERED that the application of Kimberly A. Bliss to appear and

participate in this action is hereby approved.
DATED this 7G day of 2083,

BRUCE RIFKIN, CLERK
UNITED STATES DISTRICT COURT

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